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            EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   SHANNON DALTON, for herself and
   on behalf of those similarly situated,

                 Plaintiff,                     CASE NO.: 1:20-CV-23804-DPG

   vs.

   CLEVELANDER OCEAN, LP, a
   Foreign Limited Partnership, itself,
   and as successor-in-interest to 2K
   Clevelander, LLC, a Foreign Limited
   Liability Company,

                 Defendant.
                                       /

                      AMENDED COLLECTIVE ACTION COMPLAINT
                           AND DEMAND FOR JURY TRIAL

          Plaintiff, SHANNON DALTON (“Plaintiff”) brings this action on behalf of herself and

   other current and former similarly situated employees and files this Amended Collective Action

   Complaint against Defendant, CLEVELANDER OCEAN, LP, a Foreign Limited Partnership,

   itself, and as successor in interest to 2K CLEVELANDER, LLC (“Defendant” or

   “CLEVELANDER”), and states as follows:

                                           INTRODUCTION

          1.     Congress designed the FLSA to remedy situations “detrimental to the

   maintenance of the minimum standard of living necessary for health, efficiency, and general

   well-being of workers.” 29 U.S.C. § 202(a). To achieve this broad remedial purpose, the FLSA

   establishes minimum wage and overtime requirements for covered employees. 29 U.S.C. §§

   206, 207. These provisions, coupled with an effective integrated cause of action within the
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   FLSA, prevent employers from pilfering the wages rightfully earned by their employees. See

   Billingsley v. Citi Trends, Inc., 2014 WL 1199501 (11th Cir. Mar. 25, 2014).

           2.     Similarly, the Florida Constitution, and the Florida Minimum Wage Act

   (“FMWA”) also protect employees, guaranteeing them the right to be paid minimum wages for

   each hour worked.

           3.     This is a collective action brought pursuant to 29 U.S.C. § 216(b) and by Plaintiff,

   individually and on behalf of all other similarly situated persons employed by Defendant arising

   from Defendant’s willful violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201,

   et seq. It is also a class action brought pursuant to the Florida Constitution, and the FMWA, to

   recover minimum wages owed to Plaintiff and those similarly situated.

           4.     Defendant owns and operates the Clevelander South Beach Hotel and Bar, located

   at 1020 Ocean Drive, Miami Beach, Florida in Miami-Dade County, Florida.

           5.     Defendant employed Plaintiff and other similarly situated bartenders and/or

   servers but failed to pay them the appropriate minimum wages and overtime pay under the

   FLSA.

           6.     In the three years prior to the filing of this Complaint, Defendant purported to

   charge an amount to each of its customers which it characterized as a “service charge.”

   However, the customer could increase, decrease, or refuse to pay the so-called “service charge.”

   As such, the “service charge” is discretionary, and was really a tip, which is, and was, the

   property of Plaintiff and those similarly situated.

           7.     Defendant retained 100% of the “service charges,” and paid Plaintiff and those

   similarly situated only amounts derived from the “service charges,” which it called




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   “commissions,” rather than any direct or defined hourly wage. To be clear, Defendant did not

   pay Plaintiff or those similarly situated a direct or defined hourly wage for each hour worked.

          8.      The amounts Defendant characterized as commissions do not qualify as bona fide

   commissions under the FLSA.

          9.      As an employer, Defendant is not entitled to retain any employee tips. As such, in

   retaining Plaintiff’s tips, as well as the tips of those similarly situated, Defendant violated, and

   continues to violate, the FLSA and its implementing regulations, applicable to tipped employees.

          10.     Defendant did not pay any overtime premiums to Plaintiff or those similarly

   situated for those hours over forty in a workweek which they worked.

          11.     Defendant did not pay Plaintiff and those similarly situated the applicable

   minimum wage for each week/hour that they worked.

          12.     Defendant’s practice of failing to pay its tipped bartenders and/or servers pursuant

   to 29 U.S.C. § 203(m), violates the FLSA and FMWA.

          13.     Plaintiff brings a class and collective action to recover all improperly withheld

   tips and the unpaid minimum and overtime wages owed to her and all other similarly situated

   bartenders and/or servers, current and former, of Defendant who worked at the Clevelander

   South Beach Hotel and Bar at any time during the three year period before this Complaint was

   filed up to the present (“those similarly situated” or “Putative Members”). These Putative

   Members should be informed of the pendency of this action and apprised of their rights to join in

   the manner envisioned by Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165 (1989) and its

   progeny.




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                                      JURISDICTION AND VENUE

               14.   The jurisdiction of the Court over this controversy is based upon 29 U.S.C. §216(b)

       and 28 U.S.C. § 1331.

               15.   This Court has supplemental jurisdiction over Plaintiff’s FMWA claim pursuant

       to 28 U.S.C. § 1367(a) because Plaintiff’s FMWA claim forms a part of the same case or

       controversy and arises out of a common nucleus of operative facts as the FLSA claim.

             16.     Venue is proper in the Southern District of Florida because Plaintiff resides within

   the District, Defendant maintains business operations within this District,1 and a substantial portion

   of the events forming the basis of this suit occurred in this District.

             17.     This action is intended to include each and every tipped and/or hourly paid

   bartender and/or server who worked for Defendant at any time within the past three (3) years.

                                                  PARTIES

             18.     At all times material to this action, Plaintiff was, and continues to be, a resident of

   Miami Dade County, Florida within the Southern District of Florida.

              19.    Upon information and belief, Defendant Clevelander Ocean, LP, was and

   continues to be, a Foreign Limited Partnership.

             20.     Upon information and belief, Defendant’s business operations are/were located in

   Miami-Dade County, Florida and Defendant regularly conducted business in this jurisdiction.

             21.     2k Clevelander, LLC, was engaged in the same business that Clevelander Ocean,

   LP, currently operates, and both entities operated the business at the same address at 1020 Ocean

   1
     Defendant maintained active business operations in this District until July 2020, when it
   temporarily closed due to the COVID-19 pandemic. The Company remains an “active”
   corporation with the Florida Department of Corporations, and Defendant continues to pay
   operating expenses for the property. As such, its operations are ongoing. Moreover, while the
   practices described herein have been temporarily halted due to the closure, Plaintiff expects that
   same will resume when Defendant re-opens.


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   Drive.

            22.   Clevelander Ocean, LP, used the same employees that 2k Clevelander, LLC, used

   and experienced no break in operations between closure of 2k Clevelander, LLC, and opening of

   Clevelander Ocean, LP; the same equipment and methods of production were used by

   Clevelander Ocean, LP as were previously used by 2k Clevelander, LLC; and the same services

   were offered by Clevelander Ocean, LP, that were previously offered by 2k Clevelander, LLC.

            23.   Based on the foregoing allegations, Clevelander Ocean, LP, is a successor in

   interest to 2k Clevelander, LLC, and is equally liable to Plaintiff and those similarly situated for

   the debt of 2k Clevelander, LLC.

            24.   At all times material to this action, Plaintiff was an “employee” of Defendant

   within the meaning of the FLSA and the FMWA.

            25.   Plaintiff, Shannon Dalton was employed by the Defendant from approximately

   November 2019 to March 2020, performing bartender and/or server duties for Defendant in its

   business located at 1020 Ocean Drive, Miami Beach, Miami-Dade County, Florida.

            26.   At all times material to this action, Defendant was Plaintiff’s “employer” within

   the meaning of the FLSA and the FMWA.

            27.   In the five years preceding the commencement of this Action, Defendant has been

   an “employer” within the meaning of the FLSA and the FMWA.

            28.   In the three years preceding this Complaint, Defendant has been an enterprise

   engaged in the “handling, selling, or otherwise working on goods and materials that have been

   moved in or produced for commerce by any person” within the meaning of the FLSA and the

   FMWA.

            29.   Based upon information and belief, the annual gross revenue of Defendant was in




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   excess of $500,000.00 per annum in the three years preceding this Complaint.

           30.   At all times material to this action, Defendant had two (2) or more employees

   handling, selling, or otherwise working on goods or materials that had been moved in or

   produced for commerce such as cash registers, telephones, napkins, plates, cups, liquor, knives,

   chairs, and tables, which were used directly in furtherance of Defendant’s commercial activity of

   running The Clevelander South Beach Hotel and Bar.

          31.    At all times material hereto, the work performed by the Plaintiff was directly

    essential to the business performed by Defendant.

                                     STATEMENT OF FACTS

           32.   Plaintiff is an “employee” within the meaning of the FLSA and FMWA.

           33.   Plaintiff, Shannon Dalton was employed by the Defendant from approximately

   November 2019 to March 2020.

           34.   Defendant hired DALTON to work as a non-exempt server/bartender for

   Defendant’s company, a hotel, bar and restaurant, at its location in Miami Beach, Miami Dade

   County, Florida.

           35.   DALTON was employed by Defendant in this position until March 2020.

           36.   Plaintiff’s job duties included serving food and beverages to customers.

           37.   Defendant did not claim any tip credit related to Plaintiff’s employment.

           38.   Defendant failed to compensate Plaintiff Florida minimum wage in violation of

   the FLSA and FMWA.

           39.   Defendant charged an amount to customers that it characterized as a “service

   charge.” However, the customer may increase, decrease, or refuse to pay this purported “service

   charge.”.




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            40.    As such, the service charge is discretionary and was really a tip or gratuity.

            41.    These tips or gratuities were the property of, and should have been retained by,

   Plaintiff and those similarly situated.

            42.    Defendant retained 100% of the service charges/tips.

            43.    The service charges/tips are a key part of how Plaintiff’s and similarly situated

   employees’ pay was calculated.

            44.    Defendant paid Plaintiff and those similarly situated an amount that it

   characterized as a “commission.”

            45.    For almost all of their work, Plaintiff and those similarly situated only received

   the purported “commission,” rather than a defined hourly or direct wage for those hours worked

   as bartenders/servers.

            46.    Plaintiff’s only compensation for all hours worked in a work week including

   overtime hours was the purported “commission” paid by Defendant.

            47.    Defendant did not pay any overtime premiums for hours over forty in a workweek

   to Plaintiff or those similarly situated.

            48.    At all times relevant hereto Defendant did not permit Plaintiff to retain all of her

   tips. Instead, Defendant pooled the tips, and retained a certain amount for its own use. In

   addition, in instances when Defendant did not pool tips, it nonetheless retained a portion of the

   tips for its own use.

            49.    Defendant’s retention of a portion of its bartenders’ and/or servers’ tips, is

   unlawful under the FLSA and the FMWA. Therefore, Defendant was/is required to disgorge to

   Plaintiff and those similarly situated to Plaintiff any amounts unlawfully retained or distributed.

            50.    In addition, because nearly all of the wages of Plaintiff and those similarly




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   situated were paid from their own tips, Plaintiff and the Putative Members rarely received a

   direct wage from Defendant, and are entitled to receive the applicable minimum wage for each

   hour worked.

           51.    Plaintiff and those similarly situated did not earn at least the applicable statutory

   minimum wage for all hours worked during one or more workweeks.

           52.    Plaintiff and those similarly situated were/are entitled to the applicable statutory

   minimum wage.

           53.    Defendant had a common pay policy and/or pay practice which violates the FLSA

   and FMWA in that it failed to compensate its servers and bartenders at least the statutory

   minimum wage for all hours worked per week as a result of:

              a. Improperly keeping 100% of the service charges/tips rightfully owned by Plaintiff

                  and those similarly situated;

              b. Requiring its bartenders and/or servers to share service charges/tips with the

                  business; and

              c. Failing to pay any direct wage, and instead paying only an amount purported to be

                  a “commission” derived 100% from employee tips.

           54.    In various workweeks in the three years preceding the filing of this Complaint,

   Plaintiff and other bartenders and/or servers worked for Defendant in excess of forty (40) hours

   within a workweek.

           55.    Defendant did not compensate Plaintiff or other bartenders and/or servers at time

   and one-half the minimum allowable rate of hourly pay for their overtime hours, or at time and

   one-half of any other amount that is determined to be the “regular rate of pay.”




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             56.    In fact, Defendant paid no overtime premiums to Plaintiff or the Putative

    Members at all.

             57.    Due to the policies and practices described above, during the three years

    preceding the filing of this Complaint, Defendant failed to compensate Plaintiff and those

    similarly situated to Plaintiff at a rate of one and one-half their regular rate of pay, or even at the

    minimum allowable overtime rate of pay, for all hours worked in excess of forty (40) hours in a

    single workweek.

             58.    Plaintiff and those similarly situated to Plaintiff who worked for Defendant in the

    three years prior to the commencement of this lawsuit should be compensated at the rate of one

    and one-half their regular rate of pay for those hours that they worked in excess of forty (40)

    hours per workweek, which must, at a minimum, be one and a half times the lowest lawful

    minimum wage, as required by the FLSA and FMWA.

             59.    Defendant has violated Title 29 U.S.C. §203, 206, and the FMWA during the

    three years preceding the filing of the Complaint in this matter, in that:

                a. Defendant has failed to pay Plaintiff and those similarly situated to her proper
                   minimum wage for all of the hours worked for Defendant as required by the FLSA
                   and FMWA;

                b. Defendant unlawfully retained tips that were the property of Plaintiff and those
                   similarly situated; and

                c. No payments, or insufficient payments and/or provisions for payment, have been
                   made by Defendant to properly compensate Plaintiff and those similarly situated
                   to Plaintiff at a rate equal to the applicable minimum wage, for all hours worked,
                   because Defendant compensated these employees almost entirely through their
                   own tips.

             60.    Defendant has violated Title 29 U.S.C. §207 during the three years preceding the

    filing of this Complaint, in that:

                a. Plaintiff and one or more of those similarly situated to Plaintiff worked in excess
                   of forty (40) hours per workweek during their employment with Defendant; and


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               b. No payments, or insufficient payments and/or provisions for payment, have been
                  made by Defendant to properly compensate Plaintiff and those similarly situated
                  to Plaintiff at the statutory rate of one and one-half their regular rates of pay for
                  all hours worked in excess of forty (40) hours per workweek as provided by the
                  FLSA, which rate must, at a minimum, be no less than one and one-half times the
                  lowest lawful minimum wage.

            61.    Defendant knowingly, willfully, or with reckless disregard carried out its illegal

    pattern or practice of failing to pay proper minimum wage and overtime compensation with

    respect to Plaintiff and those similarly situated, as Defendant knew or with reasonable diligence

    should have known that Plaintiff and other bartenders and/or servers should be paid at least the

    minimum wage for all hours worked; that these employees were entitled to be paid for all of

    their overtime hours at an overtime rate; that Defendant was not permitted to retain any portion

    of employee tips; that its “service charges” were subject to such discretion that they were, in fact,

    gratuities which were the property of the servers and bartenders; and that Defendant’s

    “commission” payments were not part of a bona fide commission system, such that they did not

    qualify Defendant for any exemption to the FLSA’s requirement to pay overtime premiums.

            62.    Defendant is the successor in interest to 2K Clevelander, LLC, which maintained

    the same payment scheme regarding “service charges” and “commissions” described above, and

    which was sued no less than five times for violations of the FLSA. Further, 2K Clevelander

    failed to prevail in any matter on summary judgment, or otherwise, that the payment scheme

    described above is lawful.

            63.    Having conducted diligence prior to its purchase of the Clevelander Hotel,

    Defendant would have undoubtedly been familiar with the myriad FLSA litigation then pending

    against 2K Clevelander, LLC.

            64.    In fact, several of the prior litigations were settled at the same time that Defendant

    purchased the business from 2k Clevelander, LLC, suggesting that the lawsuits were resolved in



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    connection with the sale.

            65.    Rather than change the payment scheme after purchasing the business from 2k

    Clevelander, LLC, Defendant maintained the same payment scheme, including those aspects

    which were specifically found would violate the FLSA if proven true.

            66.    Upon information and belief, Defendant did not rely upon the advice of counsel in

    maintaining the pay structures of Plaintiff and those similarly situated.

            67.    Defendant failed and/or refused to properly disclose or apprise Plaintiff of her

    rights under the FLSA or the FMWA.

            68.    The additional persons who may join this action are those similarly situated to

    Plaintiff, who also were not paid appropriate minimum and overtime wages due to Defendant’s

    policies and practices described above.

                          COLLECTIVE/CLASS ACTION ALLEGATIONS

            69.    As part of their regular business practices, Defendant intentionally, willfully and

    repeatedly harmed Plaintiff and Putative Members by engaging in a pattern, practice, or policy of

    violating the FLSA and FMWA on a collective wide basis, as described above.

           70.     Plaintiff and Putative Members were all “Bartenders” and/or “Servers” in

    Defendant’s hotel and bar, and performed the same or similar job duties as one another in that

    they provided food and beverage services to Defendant’s patrons and worked under the same

    conditions and subject to the same violations of the FLSA and FMWA.

           71.     Many Putative Members regularly worked in excess of forty (40) hours during a

    workweek.

           72.     Putative Members were not exempt from receiving overtime pay and/or minimum

    wage at the federally mandated minimum wage rate under the FLSA and FMWA.




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           73.      As such, Putative Members are similar to Plaintiff in that they shared substantially

    similar job duties, compensation plan, and the denial of overtime and minimum wage.

           74.      Although the exact amount of damages may vary among Putative Members, the

    damages for Putative Members can be easily calculated by a formula. The claims of all Putative

    Members arise from a common nucleus of facts. Liability is based on a systematic course of

    wrongful conduct by Defendant that caused harm to all Putative Members.

            75.     Plaintiff and the Putative Members were subjected to the same pay provisions in

    that they were all paid pursuant to the same “service charge”/tip and “commission” scheme, and

    were not compensated at least the proper minimum wage and overtime for all hours worked as a

    result of Defendant’s common policies and practices, including but not limited to the following:

                 a. Plaintiff and other bartenders and/or servers were deprived of their tips because
                    same were improperly classified as a “service charge;”

                 b. Plaintiff and other bartenders and/or servers were not paid an hourly or direct
                    wage for all of their hours worked, instead receiving their tips paid back to them
                    as “commission;”

                 c. Plaintiff and other bartenders and/or servers were required to participate in a
                    mandatory tip pool and part of the tip pool was diverted to the business itself
                    and/or if not required to pool tips were required to share their tips directly with
                    the business itself; and

                 d. Plaintiff and other bartenders and/or servers were not paid proper overtime
                    premiums for their overtime hours.

            76.     Defendant’s uniform method of payment to Plaintiff and Putative Members

    resulted in a violation of the FLSA and FMWA..

            77.     These policies and practices were applicable to Plaintiff and Putative Members.

            78.     Accordingly, the putative collective is properly defined as:

                 All “Bartenders and/or Servers” who worked for Defendant at the
                 Clevelander South Beach Hotel and Bar located at 1020 Ocean Dr.,
                 Miami Beach, FL 33139, at any time during the three years before this
                 Action was filed and up to the present.


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            79.     Similarly, the putative class is properly defined as:

                  All “Bartenders and/or Servers” who worked for Defendant at the
                  Clevelander South Beach Hotel and Bar located at 1020 Ocean Dr.,
                  Miami Beach, FL 33139, at any time during the five years before this
                  Action was filed and up to the present.

            80.     Defendant knowingly, willfully, or with reckless disregard carried out its illegal

    pattern or practice of failing to pay minimum and overtime wages with respect to Plaintiff and

    the putative collective Members.

            81.     Within the applicable statute of limitations, over 150 individuals were subject to

    the patterns, practices, and policies described herein, which violate the FLSA and the FMWA.

            82.     Within the applicable statute of limitations, over 150 other individuals who

    worked with Plaintiff or in a similar position as Plaintiff were paid in the same manner,

    performed similar work as described above, and were not properly compensated for all hours

    worked as required by state and federal wage laws.

            83.     Defendant has employed over 150 persons as servers or bartenders within the five

    years preceding the date of this Complaint.

            84.     Defendant has paid over 150 persons employed as servers or bartenders almost

    entirely in amounts characterized as “commissions” derived from “service charges” collected,

    only rarely paying a direct hourly wage, in the five years preceding the date of this Complaint.

            85.     Defendant’s failure to pay wages and overtime compensation at the rates required

    by the FLSA and FMWA are the product of generally applicable, systematic policies, and

    practices which are not dependent on the circumstances of each individual employee.

            86.     Because they were subject to common policies and practices while performing

    similar work, Plaintiff’s experiences, and the violations to which she was subject are typical of

    those experienced by others in the proposed class.


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            87.     The specific job titles of those in the proposed class do not prevent class or

    collective treatment, because they performed similar work and were subject to the same unlawful

    practices and policies.

            88.     Plaintiff has no interests contrary to, or in conflict with, the proposed class she

    seeks to represent. Rather, Plaintiff has an interest in obtaining all monies owed under the FLSA

    and FMWA.

            89.     A class and collective action, such as the instant one, is superior to other available

    means to achieve efficient and fair resolution of this action.

            90.     Absent this litigation, those Plaintiff seeks to represent likely will not obtain any

    remedy for their injuries, and Defendant will receive improper benefit, even though it has

    engaged in systematic and egregious violation of the FLSA and FMWA.

            91.     Furthermore, even in the event that other servers and bartenders sought to litigate

    this matter, such duplicative litigation would be inefficient, and would pose an undue burden to

    the already strained resources of this Court and/or a Florida state court.

            92.     Litigating this matter as a class action promotes judicial economy and efficiency.

            93.     Questions of law and fact common to those Plaintiff seeks to represent

    predominate over any questions affecting only particular individuals. Such common questions of

    law and fact include, but are not limited to:

            a.      Whether Defendants employed Plaintiff and the proposed class within the meaning

    of the FLSA and the FMWA;

            b.      Whether Plaintiff and the proposed class were improperly denied minimum wage

    compensation;

            c.      Whether the amounts charged as a ‘service charge’ qualify as a bona fide service




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    charge under the FLSA and FMWA or are, in fact, gratuities;

             d.     Whether the amounts distributed from the collected “service charges” qualify as a

    bona fide commission under the FLSA;

             e.     Whether Defendant’s servers and bartenders qualify for the 7(i) exemption as

    retail sales or service employees;

             f.     If the amounts charged as a “service charge” were, in fact, tips, then whether

    amounts from the ‘pool’ created of these monies were improperly shared with management

    and/or the company itself;

             g.     If the amounts charged as a “service charge” were, in fact, tips, then whether tips

    that were not pooled were also improperly diverted to management and/or the company itself;

    and

             h.     Whether the violation of the FLSA and the FMWA was willful.

             94.    Plaintiff’s claims are typical of the claims of those she seeks to represent. Plaintiff

    and the proposed class were uniformly damaged by Defendant’s unlawful policies, which were

    equally applicable to Plaintiff and the proposed class.

             95.    There are no litigation management issues which preclude or hinder the ability of

    this matter to proceed as a class action.

             96.    While the amount of damages may vary to some degree between members of the

    class, the facts establishing liability are common. Moreover, calculations as to damages will be

    largely a matter of mathematical calculation once each class member’s work hours and

    contributions to the tip pool and/or portions of tips taken by the Defendant are known. Therefore,

    this issue does not affect the ability of this matter to proceed as a class action.




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                                          COUNT I
                                 RECOVERY OF MINIMUM WAGES

            97.    Plaintiff reincorporates and readopts all pertinent allegations contained within

    Paragraphs 1-96 above as though fully set forth herein.

            98.    Defendant was required to pay Plaintiff at least the applicable minimum wage for

    all hours worked.

            99.    Defendant failed to pay Plaintiff the applicable minimum wage for each hour

    worked for Defendant.

            100. Defendant required its servers and bartenders employees, often as part of an

    invalid tip pool arrangement, to have a portion of their tips diverted to the business itself, in

    violation of the FLSA.

            101. Because of these policies, Defendant violated the FLSA in that Plaintiff, and those

    similarly situated, have not been paid the full minimum wage for each hour worked during their

    employment.

            102. Defendant had specific knowledge that they were paying sub-minimum wages to

    Plaintiff, but still failed to pay Plaintiff at least minimum wages.

            103. Defendant willfully failed to pay Plaintiff the applicable minimum wage for one

    or more weeks of work contrary to 29 U.S.C. § 206.

            104. Based upon information and belief, those similarly situated to Plaintiff were not

    paid proper minimum wage for each hour worked because they were subject to the same policies

    and practices applicable to Plaintiff, as described above.

            105. As a direct and proximate result of Defendant’s deliberate underpayment of

    wages, Plaintiff has been damaged in the loss of minimum wages, as well as in the amount of

    any tips improperly taken by the Defendant and/or its management, for one or more weeks of



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    work with Defendant.

            106. As a result of these common policies, Plaintiff, and those similarly situated, are

    entitled to receive the full statutory minimum wage, in addition to disgorgement of tips paid into the

    unlawful tip pool which were kept by the Defendant and/or its management, and liquidated

    damages.

            107. Defendant knew its conduct violated the FLSA or acted in reckless disregard of

    the FLSA provisions.

            108. Plaintiff and those similarly situated, are entitled to an award of reasonable

    attorney’s fees and costs pursuant to 29 U.S.C. §216(b).

                                COUNT II
          RECOVERY OF MINIMUM WAGES (FLORIDA CONSTITUTION/FMWA)

            109. Plaintiff reincorporates and readopts all pertinent allegations contained within

    Paragraphs 1-96 above as though fully set forth herein..

            110. Plaintiff, and those similarly situated, are entitled to be paid minimum wages for

    each hour worked during employment with Defendant.

            111. Plaintiff, and those similarly situated, were not paid the proper minimum wage,

    pursuant to Article X, Section 24 of the Florida Constitution and the FMWA.

            112. Defendant willfully failed to pay Plaintiff, and those similarly situated minimum

    wages for their hours worked during their employment contrary to Article X, Section 24 of the

    Florida Constitution and the FMWA.

            113. As a direct and proximate result of Defendant’s deliberate underpayment of

    wages, Plaintiff, and those similarly situated have been damaged in the loss of minimum wages

    for all weeks of work with Defendant.

            114. On or about December 23, 2020, Plaintiff served a letter on Defendant pursuant to



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    Fla. Stat. 448.110, demanding payment for unpaid minimum wages for herself and those

    similarly situated. To date, Defendant has failed to make payment in accordance with same.

    Therefore, while Plaintiff disputes the constitutionality of the requirement to serve a pre-suit

    notice, Plaintiff has satisfied all prerequisites, to the extent there are any, for bringing her claim

    pursuant to the Florida Constitution and the FMWA.

            115. Plaintiff and those similarly situated are entitled to an award of damages in an

    amount equal to their unpaid minimum wages and an equal amount as liquidated damages.

           116.    Plaintiff and those similarly situated are entitled to an award of reasonable

    attorneys’ fees and costs, pursuant to Article X, Section 24 of the Florida Constitution and the

    FMWA.

                                       COUNT III
                          RECOVERY OF OVERTIME COMPENSATION

            117. Plaintiff reincorporates and readopts all pertinent allegations contained within

    Paragraphs 1-96 above as though fully set forth herein.

            118. In the three years preceding the filing of this Complaint, in one or more

    workweeks, Plaintiff and other similarly situated bartenders and/or servers worked hours in

    excess of forty (40) hours for which they were not compensated at the statutory rate of one and

    one-half their regular rates of pay, which, at a minimum, cannot lawfully be less than one and

    one-half times the lowest lawful minimum wage.

            119. Plaintiff and other similarly situated bartenders and/or servers were, and are

    entitled to be paid at the statutory rate of at least one and one-half the lowest lawful minimum

    wage for all hours worked in excess of forty (40) hours in a workweek.

            120. If a rate higher than the minimum wage is determined to be the applicable regular

    rate for Plaintiff and those similarly situated, then Plaintiff and Putative Members were, and are,



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    entitled to be paid one and one-half times their regular rates of pay for each overtime hour

    worked.

              121. Defendant’s actions were willful and/or showed reckless disregard for the

    provisions of the FLSA as evidenced by its failure to compensate Plaintiff and other similarly

    situated bartenders and/or servers at a rate of at least one and one-half times the applicable

    minimum wage for all hours worked in excess of forty (40) hours per workweek, when it knew,

    or reasonably should have known, such was, and is due.

              122. Due to common policies and practices described herein, Plaintiff and Putative

    Members suffered and continue to suffer damages and lost compensation for time worked over

    forty (40) hours per week, plus liquidated damages.

              123. Plaintiff, and those similarly situated, are entitled to an award of reasonable

    attorney’s fees and costs pursuant to 29 U.S.C. §216(b).

                                             COUNT IV
                                        DECLARATORY RELIEF

              124. Plaintiff reincorporates and readopts all pertinent allegations contained within

    Paragraphs 1-96 above as though fully set forth herein.

              125. Plaintiff and Defendant have a Fair Labor Standards Act dispute pending, which the

    Court has jurisdiction to hear pursuant to 28 U.S.C. § 1331, as a federal question exists.

              126. The Court also has jurisdiction to hear Plaintiff’s request for declaratory relief

    pursuant to the Declaratory Judgment Act. 28 U.S.C. §§ 2201-2202.

              127. Plaintiff may obtain declaratory relief.

              128. Defendant employed Plaintiff.

              129. Defendant is an enterprise.

              130. Plaintiff was individually covered by the FLSA and FMWA.



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             131. Plaintiff is entitled to overtime compensation pursuant to 29 U.S.C. §207(a)(1).

             132. Defendant did not rely on a good faith defense in its failure to abide by the

    provisions of the FLSA and FMWA.

             133. Plaintiff is entitled to an equal amount of liquidated damages.

             134. It is in the public interest to have these declarations of rights recorded.

             135. Plaintiff’s declaratory judgment action serves the useful purpose of clarifying and

    settling the legal relations at issue.

             136. The declaratory judgment action terminates and affords relief from uncertainty,

    insecurity, and controversy giving rise to the proceeding.

            WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor and

    against Defendant:

                     a.      Awarding Plaintiff minimum wage compensation in the amount due to her
                             for workweeks Plaintiff worked for Defendant at a rate equivalent to the
                             federal minimum wage;

                     b.      Awarding Plaintiff overtime compensation in the amount due to her for
                             Plaintiff’s hours worked in excess of forty (40) hours per workweek while
                             employed by Defendant;

                     c.      Awarding Plaintiff liquidated damages in an amount equal to the
                             minimum wage and/or overtime award;

                     d.      Awarding Plaintiff pre-judgment and/or post-judgment interest;

                     e.      Granting Plaintiff an Order, on an expedited basis, allowing her to send
                             Notice of this action, pursuant to 216(b), to those similarly situated to
                             Plaintiff;

                     f.      Declaring, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and
                             practices complained of herein are in violation of the minimum wage
                             provisions and/or overtime wage provisions of the FLSA and FMWA;

                     g.      Declaring Defendant failed to prove a good faith defense, and Plaintiff is
                             entitled to minimum wages, overtime wages, liquidated damages, and
                             reasonable attorneys’ fees pursuant to the FLSA and FMWA;




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                   h.      An award of costs and expenses of this action together with reasonable
                           attorneys’ and expert fees; and

                   i.      Ordering any other further relief the Court deems just and proper.

                                                 PRAYER

           For these reasons, Plaintiff respectfully requests that judgment be entered in her favor,

    and in favor of those similarly situated, awarding the following relief:

                   a.      An Order Conditionally Certifying this case as a collective action in
                           accordance with 29 U.S.C. § 216(b) with respect to the FLSA claims set
                           forth herein (Counts I, II and III);

                   b.      Certification of this action as a class/collective action and appointing
                           Plaintiff and her counsel to represent the Putative Members;

                   c.      An Order compelling Defendant to disclose the names, addresses,
                           telephone numbers and email addresses of all collective action members
                           and permitting Plaintiff to send notice of this action to all those similarly
                           situated individuals, including the publishing of notice in a manner that is
                           reasonably calculated to apprise the collective members of their right by
                           law to join and participate in this lawsuit;

                   d.      An Order declaring that Defendant violated the FLSA and their
                           regulations;

                   e.      An Order declaring Defendant’s violations of the FLSA were willful;

                   f.      An Order declaring that Defendant violated the FMWA ;

                   g.      An Order declaring Defendant’s violations of the FMWA were willful;

                   h.      An Order granting judgment in favor of Plaintiff and against Defendant
                           and awarding Plaintiff and Putative Members the full amount of damages
                           and liquidated damages available by law;

                   i.      An Order awarding attorneys’ fees and costs incurred by Plaintiff in filing
                           this action as provided by statute;

                   j.      Declaring, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and
                           practices complained of herein are in violation of the maximum hour and
                           minimum wage provisions of the FLSA and FMWA;

                   k.      Overtime compensation for all hours worked over forty in a workweek at
                           the applicable time-and-a-half rate;



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                  l.     All unpaid wages for hours under forty at the applicable minimum wage
                         rate;

                  m.     Disgorgement of all misappropriated tips, whether characterized as
                         “service charges” or otherwise;

                  n.     An equal amount of all amounts awarded hereunder as liquidated damages
                         as required under the FLSA;

                  o.     Such other relief to which Plaintiff and Members may be entitled, at law
                         or in equity.

                                            JURY DEMAND

       Plaintiff and Putative Members hereby demand trial by jury.


           Dated this 6th day of January, 2021.

                                                  Respectfully submitted,
                                                  MORGAN & MORGAN, P.A.

                                                  By: /s/ Angeli Murthy
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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was filed using the

    CM/ECF system on this 6th day of January, 2021, which I understand will send notification of same

    to all counsel of record.

                                                /s/ ANGELI MURTHY
                                                ANGELI MURTHY, ESQ.




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